          Case 2:17-cv-02567-ESW Document 30 Filed 11/28/17 Page 1 of 1



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Fernando Gastelum,                                No. CV-17-02567-PHX-ESW
10                  Plaintiff,                         ORDER
11   v.
12   Imara Holdings Incorporated,
13                  Defendant.
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15            The Court having received Defendant’s Notice of Settlement in Lieu of Service of
16   Defendant’s Mandatory Initial Discovery Project Response (Doc. 29), and good cause
17   appearing,
18            IT IS ORDERED vacating Rule 16 Case Management Conference set on
19   December 13, 2017.
20            IT IS FURTHER ORDERED directing the parties to file their stipulation to
21   dismiss, once settlement documents are finalized but no later than January 18, 2018.
22            Dated this 27th day of November, 2017.
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25                                                      Honorable Eileen S. Willett
                                                        United States Magistrate Judge
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